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 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
                                                                  4- CR-05-00232-MJJ
11     UNITED STATES OF AMERICA,             )                No. CR-05-70158 WDB
                                             )
12                       Plaintiff,          )                STIPULATION AND [PROPOSED]
                                             )                ORDER MODIFYING CONDITIONS OF
13     vs.                                   )                PRETRIAL RELEASE TO PERMIT
                                             )                BEAU DEFRENCHI TO GO CAMPING
14     ADRIEN OLIVAS and BEAU DEFRENCHI, )                    FOR THE WEEKEND OF JUNE 4 AND 5
                                             )
15                       Defendant.          )                E-FILING CASE
       _____________________________________ )
16
               Beau Defrenchi was released on bond on March 8, 2005. Release conditions include
17
       monitoring by Pretrial Services, a curfew that can be adjusted at Pretrial’s discretion, an order
18
       that Mr. Defrenchi remain in the custody of his mother, Gloria Casares, and an order that Mr.
19
       Defrenchi remain in the Northern California. Mr. Defrenchi lives with his mother in Tracy, and
20
       would like to go camping at Amador Lake (which is also in the Eastern District of California)
21
       with his father, uncle and cousins from the morning of Saturday, June 4 through the late evening
22
       of Sunday, June 5. His mother may go as well, but has not yet determined whether she can make
23
       it. Pretrial has no objection to the trip, but requests that the Court be notified and approve it.
24
       //
25
       //
26


       Stip. To allow camping trip., 05-70158            1
       Case
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 1     Therefore, the parties stipulate and request that the Court approve Mr. Defrenchi’s June 4 – June

 2     5 family camping trip.

 3             In addition, Pretrial requests that the Court clarify the Bond. The bond states that Mr.

 4     Defrenchi’s travel is limited to Northern California. The parties believe that “Northern

 5     California” means the Northern and Eastern Districts of California, but request that the Court

 6     clarify if the Court presumed a different meaning.

 7                                                           /S/
       Date:___________________                       _________________________
 8                                                    Rebecca Sullivan Silbert
                                                      Assistant Federal Public Defender
 9                                                    Counsel for Mr. Defrenchi

10
                                                              /S/
11     Date:____________________                      ___________________________
                                                      Kirstin Ault, by Lewis Davis
12                                                    Assistant United States Attorney

13     I hereby attest that I have on file all holograph signatures for any signatures indicted by a
       “conformed” signature (/S/) within this efiled documents.
14
                                                   ORDER
15             For the above reasons and for good cause shown, it is HEREBY ORDERED that Mr.

16     Defrenchi may go on the camping trip at Amador Lake with his family from Saturday, June 4

17     through the late evening of Sunday, June 5.

18             It is further ordered that the original release condition restricting Mr. Defrenchi to

19     “Northern California” means that travel is permitted in the Northern and Eastern District of

20     California, but not outside of those districts without prior Court approval.

21     SO ORDERED

22
             June 3, 2005
       Date: ____________________
23                                                    /S/ Wayne D. Brazil
                                                      _______________________
                                                      Honorable Wayne D. Brazil
24                                                    United States District Court
                                                      Magistrate Judge
25

26


       Stip. To allow camping trip., 05-70158            2
